  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 1 of 17 PAGEID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


WALLAKE POWER SYSTEM, LLC                          )    CASE NO.
                                                   )
                       Plaintiff,                  )    JUDGE:
                                                   )
        vs.                                        )
                                                   )
ENGINE DISTRIBUTORS, INC.,                         )
                                                   )    COMPLAINT
and                                                )
                                                   )    (Jury Demand Endorsed Hereon)
JERRY KOSNER,                                      )
                                                   )
                       Defendants.                 )



        Plaintiff Wallake Power System LLC, d/b/a Graham Power Products, d/b/a Graham Ford,

Inc. (“Graham Ford”) states as follows for its Complaint against Defendants Engine

Distributors, Inc. (“EDI”) and Jerry Kosner (“Kosner”):

                                            PARTIES

        1.     Graham Ford is a limited liability company organized under the laws of the State

of Ohio, with its principal place of business in Columbus, Franklin County, Ohio.

        2.     EDI is a corporation organized under the laws of the State of New Jersey, with its

principal place of business in Blackwood, Camden County, New Jersey.

        3.     Kosner is an individual residing in, upon information and belief, the State of

Illinois. Upon information and belief, at all material times with respect to the allegations in this

Complaint, Kosner was employed by, contracted with, and/or an agent of EDI.




11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 2 of 17 PAGEID #: 2




                                 JURISDICTION AND VENUE

         4.    This Court has diversity jurisdiction over this suit under 28 U.S.C. § 1332, as the

parties are citizens of different States and the amount in controversy exceeds $75,000.00.

         5.    Venue is proper in the United States District Court for the Southern District of

Ohio as some or all of the facts giving rise to this Complaint occurred within Franklin County,

Ohio, and a substantial part of the events and omissions giving rise the claims herein occurred in

this District, as described below.

                                             FACTS

                  GRAHAM FORD’S BUSINESS RELATIONSHIP WITH
                  FORD COMPONENT SALES, LLC, EDI, AND KOSNER

         6.    In 2009, Graham Ford entered into a business relationship with Ford Component

Sales, LLC (“FCS”), which allowed Graham Ford to purchase Ford engines and transmissions

(“Powertrain Assemblies”) from FCS.

         7.    Graham Ford purchased incomplete Powertrain Assemblies from FCS, would

complete them as the engine manufacturer, and would then sell the Powertrain Assemblies to end

users.

         8.    Graham Ford used various vendors in completing the engineering, testing, and

assembly of its Powertrain Assemblies. Specifically, Graham Ford had a relationship with

EControls, LLC (“EControls”), which would assist Graham Ford in calibrating and

programming Graham Ford’s engine control modules.

         9.     Kosner is a former employee, contractor, or agent of EControls.

         10.   By virtue of Kosner’s position at EControls, Graham Ford would allow Kosner to

enter Graham Ford’s premises for the purpose of conducting business on behalf of EControls in

support of Graham Ford. When Kosner was on Graham Ford’s premises, Kosner had access to


                                                2
11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 3 of 17 PAGEID #: 3




business information of Graham Ford, including but not limited to information regarding

Graham Ford’s business operations, engine design processes, and calibration and programming

information. But for Kosner’s status as an employee of EControls, Graham Ford would not have

allowed Kosner onto its premises and would not have provided Kosner access to any of Graham

Ford’s business information.

        11.   EDI is a competitor of Graham Ford and has the same or a substantially similar

business relationship to FCS that Graham Ford had with FCS.

        12.   EDI stood to gain from FCS terminating its relationship with Graham Ford

because the termination would essentially eliminate competition for EDI and allow EDI to

increase its market reach by narrowing the field of competitors selling FCS Powertrain

Assemblies.

          KOSNER JOINS EDI, BUT CONTINUES TO GO TO GRAHAM FORD

        13.   At some unknown time, though upon information and belief sometime during

early- to mid-2016, Kosner ceased working for EControls and began to work for EDI.

        14.   Even though Kosner was now working for EDI, Kosner continued to visit Graham

Ford’s place of business, pretending that he was there on behalf of EControls. If Graham Ford

had been aware that Kosner was working for EDI, it would not have allowed Kosner on its

premises, let alone have provided Kosner with access to Graham Ford’s business information.

        15.   In or around July of 2016, Graham Ford learned from Larry Maccani of Roush

Industries (“Roush”), that Kosner was no longer with EControls and was instead working for

EDI. As represented by Roush, in or around July of 2016, Kosner contacted Roush regarding the

development of a new engine configuration on behalf of EDI. Roush recognized the engine

configuration as belonging to Graham Ford, and immediately informed Graham Ford.



                                              3
11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 4 of 17 PAGEID #: 4




        16.   Graham Ford immediately terminated its relationship with Kosner.

                     KOSNER AND EDI’S PRESENTATION TO FCS

        17.   Sometime in late 2016, EDI, through Kosner and one or more of EDI’s officers,

arranged for a meeting with FCS to discuss Graham Ford (the “Meeting”).

        18.   At the Meeting, EDI, through Kosner and one or more of EDI’s officers,

presented a slideshow presentation (the “Presentation”) regarding Graham Ford, which

contained false, defamatory, misleading, and disparaging information regarding Graham Ford.

        19.   Below is a true and accurate picture of the first page of the Presentation,

containing both EDI’s logo and identifying Kosner as the presenter.




        20.   Below is a true and accurate picture of the second page of the Presentation.




                                               4
11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 5 of 17 PAGEID #: 5




        21.     The above statements are false, defamatory, and/or misleading, and were made

negligently, maliciously, intentionally, and/or were made with reckless disregard as to whether

the statements are true, including but not limited to the fact that the proper emissions stickers

were attached and Graham Ford properly assembled and certified the engines.

        22.     The statements are material because they negligently, maliciously, intentionally,

and/or recklessly state, imply, and create the impression that Graham Ford was shipping

Powertrain Assemblies in violation of the terms of its agreement with FCS and in violation of

federal laws regarding the transportation, emission labelling, and assembly of engines.

        23.     Below are true and accurate pictures of the third and fourth pages of the

Presentation.




                                    (Page 3 of Presentation.)




                                                5
11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 6 of 17 PAGEID #: 6




                                   (Page 4 of Presentation.)

        24.    The above statements are false. The engines that were shipped had the appropriate

emission stickers, and the images embedded in pages 3 and 4 of the Presentation were not labels

to be attached by the customer. Instead, these images are from Graham Ford’s Engine OEM

Manual (“OEM Manual”) and were illustrative examples in the OEM Manual to help the user

identify the location of the actual emissions labels on the engines and to illustrate what the

different labels looked like.

        25.    The above statements are material because they negligently, maliciously,

intentionally, and/or recklessly state, imply, and create the impression that Graham Ford was

shipping Powertrain Assemblies in violation of the terms of its agreement with FCS and in

violation of federal laws regarding the transportation, emission labelling, and assembly of

engines.

        26.    Page 4 of the Presentation is also false, defamatory, and/or misleading by

asserting that Graham Ford was using the Ford/FCS logo without authorization or approval,

when in fact Graham Ford had such authorization. While the statements are punctuated with dual

question marks (“??”), simply adding a question mark to a statement does not preclude it from




                                               6
11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 7 of 17 PAGEID #: 7




being defamatory when the substance of the statement, when taken in the overall context, can be

reasonably read as a false assertion of fact.

        27.    These statements / “questions” were likewise material by falsely asserting and

portraying that Graham Ford was making unauthorized use of the Ford/FCS logo.

        28.    Below is a true and accurate picture of the fifth page of the Presentation:




        29.    The above statements are false, defamatory, and/or misleading, and were made

negligently, maliciously, intentionally, and/or were made with reckless disregard as to whether

the statements are true, including but not limited to the fact that proper emissions stickers were

attached and the engines were never introduced into interstate commerce.

        30.    The statements are material because they negligently, maliciously, intentionally,

and/or recklessly state, imply, and create the impression that Graham Ford was shipping

Powertrain Assemblies in violation of the terms of its agreement with FCS and in violation of

federal laws regarding the transportation, emission labelling, and assembly of engines.

        31.    Page 5 of the Presentation states that this incident was “witnessed by Jerry

Kosner” in June 2016. Upon information and belief, Kosner was employed by EDI by this time.

As such, Kosner gained access to Graham Ford’s premises under false pretenses by representing

that he was still employed by EControls, or by negligently or fraudulently failing to disclosure

                                                 7
11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 8 of 17 PAGEID #: 8




that he was no longer with EControls and was now working for EDI as Graham Ford’s

competitor, when there was a duty to disclose such information.

        32.    Below is a true and accurate picture of the sixth page of the Presentation:




        33.    The above statements are false, defamatory, and/or misleading, and were made

negligently, maliciously, intentionally, and/or were made with reckless disregard as to whether

the statements are true, including but not limited to the fact that Graham Ford took no

unauthorized action to try and circumvent the FCS sales process, that Graham Ford did not stop

assembling engines, and that Graham Ford did not stop applying emissions stickers to its

engines.

        34.    The statements are material because they negligently, maliciously, intentionally,

and/or recklessly state, imply, and create the impression that Graham Ford was shipping

Powertrain Assemblies in violation of the terms of its agreement with FCS and in violation of

federal laws regarding the transportation, emission labelling, and assembly of engines.

        35.    Below is a true and accurate picture of the seventh page of the Presentation:




                                                8
11138092 v1
  Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 9 of 17 PAGEID #: 9




        36.     The above statements are false, defamatory, and/or misleading, and were made

negligently, maliciously, intentionally, and/or were made with reckless disregard as to whether

the statements are true, including but not limited to the fact “Cummins Calibration” was the

default configuration on all ECMs (engine control modules) Graham Ford obtained from

EControls, that configuration was not the result of any action taken by Graham Ford, and that the

reason Graham Ford returned the ECMs to EControls was because they were defective.

        37.     The statements are material because they negligently, maliciously, intentionally,

and/or recklessly state, imply, and create the impression that, inter alia, Graham Ford was

improperly using the intellectual property, programming, and engine calibrations of Cummins,

another customer of FCS, and that EControls did not return the ECMs to Graham Ford out of

some concern that Graham Ford was engaging in inappropriate behavior (when in fact, the

ECMs were not returned to Graham Ford because they were defective).

        38.     Below is a true and accurate picture of the eighth and final page of the

Presentation:




                                                9
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 10 of 17 PAGEID #: 10




        39.    The above statements are false, defamatory, and/or misleading, and were made

negligently, maliciously, intentionally, and/or were made with reckless disregard as to whether

the statements are true, and create the impression that Graham Ford was selling Powertrain

Assemblies to customers while permitting the customers to be Manufacturer of Record

(“MOR”).

        40.    The statements are material because they negligently, maliciously, intentionally,

and/or recklessly state, imply, and create the impression that Graham Ford was violating its

agreement with FCS and federal laws regarding, inter alia, the transportation, sales, and

introduction of engines into interstate commerce.

        41.    Overall, the Presentation contained numerous false and misleading statements

regarding Graham Power’s business, Graham Power’s compliance with its agreement with FCS,

and Graham Power’s compliance with federal laws regarding the transportation, labeling, and

introduction of engines into interstate commerce. See 40 C.F.R. Part 1068, Subpart B.

        42.    Defendants knew that the statements in the Presentation, and related statements

made during the Meeting, were false, misleading, and defamatory, and Defendants acted

negligently, recklessly, maliciously, intentionally, and/or with willful disregard as to whether the

statements were true, and disparaged the goods, services, and business of Graham Ford.


                                                10
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 11 of 17 PAGEID #: 11




        43.    Some of the false or misleading statements made in the Presentation were also

premised on what Kosner allegedly saw on Graham’s premises, which occurred solely as a result

of Kosner’s unauthorized access to Graham Ford based on the false pretense that he was still an

employee of EControls at the time.

        44.    Defendants engaged in the above described conduct for the purpose of interfering

with Graham Ford’s relationship with FCS, from which Defendants stood to directly benefit.

        45.    After the Presentation, on May 2, 2017, FCS terminated its relationship with

Graham Ford.

        46.    Graham Ford had an uninterrupted business relationship with FCS dating back to

at least 2009, at least eight years before FCS terminated its relationship with Graham Ford.

        47.    Graham Ford engaged in no other action or inaction that would have resulted in

FCS’s termination of its relationship with Graham Ford. The only occurrence proximate with

FCS’s termination of its relationship with Graham Ford was Defendants’ Presentation.

                                             COUNT I

                    TORTIOUS INTERFERENCE WITH CONTRACT /
                     BUSINESS RELATIONSHIP BY DEFENDANTS

        48.    Plaintiff incorporates all of the preceding allegations as if fully rewritten herein.

        49.    Since 2009 at the latest, Graham Ford had a contractual and/or business

relationship with FCS.

        50.    Defendants had knowledge of Graham Ford’s contractual and/or business

relationship with FCS.

        51.    Defendants intentionally interfered with Graham Ford’s relationship with FCS

through wrongful means, including but not limited to false, misleading, and defamatory




                                                 11
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 12 of 17 PAGEID #: 12




information in the Presentation, and disparagement of Graham Ford’s business, leading to a

termination of the relationship between Graham Ford and FCS.

        52.    Graham Ford has been damaged by Defendants’ tortious interference with its

relationship with FCS, and is entitled to any and all actual damages stemming from that

interference, including but not limited to pecuniary loss through lost business development

resources, lost opportunities, and lost profits, in an amount to be determined at trial.

        53.    Defendants’ interference was done intentionally, willfully, and/or recklessly,

further entitling Plaintiff to punitive damages and an award of attorneys’ fees.

                                             COUNT II

                                          DEFAMATION

        54.    Graham Ford incorporates all of the preceding allegations as if fully rewritten.

        55.    The statements made by Defendants in the Presentation and Meeting were false

and defamatory, were about Graham Ford, and were published without privilege to FCS.

        56.    Defendants’ statements in the Presentation and Meeting were made negligently,

recklessly, maliciously, intentionally, and/or with willful disregard as to whether the statements

were true.

        57.    The statements disparaged the goods, services, and business of Graham Ford, and

tended to injure Graham Ford’s trade or occupation at its principal place of business, and are

therefore defamatory per se, for which Graham Ford need not prove special damages.

Nonetheless, Graham Ford did suffer damages in fact, including but not limited to the

termination of its relationship with FCS, lost profits, wasted prior business development, and

impairment of reputation.




                                                 12
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 13 of 17 PAGEID #: 13




                                           COUNT III

          VIOLATIONS OF THE OHIO DECEPTIVE TRADE PRACTICES ACT,
                        O.R.C. § 4165.01, et seq. (“DTPA”)

        58.    Graham Ford incorporates all of the preceding allegations as if fully rewritten.

        59.    The DTPA provides, in pertinent part, that a person “engages in a deceptive trade

practice when, in the course of the person’s business, vocation, or occupation, the person does

any of the following …. Disparages the goods, services, or business of another by false

representation of fact.” O.R.C. § 4165.02(A)(10).

        60.    Defendants are “persons” under the DTPA.

        61.    Defendants are competitors of Graham Ford both in terms of their respective

relationships with FCS and in the marketplace.

        62.    In the course of Defendants’ business, vocation, or occupation in competing with

Graham Ford, Defendants disparaged the goods, services, and business of Graham Ford through

false representations of fact described above in the Presentation, in the Meeting, as well as at

other times.

        63.    Graham Ford suffered harm at its principal place of business as a result of

Defendants’ conduct through the resulting termination of its relationship with FCS.

        64.    Graham Ford is entitled to injunctive relief, actual damages, and attorneys’ fees

pursuant to O.R.C. § 4165.03.

                                           COUNT IV

                                       CIVIL TRESPASS

        65.    Graham Ford incorporates all of the preceding allegations as if fully rewritten.

        66.    Graham Ford’s business is located in Grove City, Franklin County, Ohio.




                                                 13
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 14 of 17 PAGEID #: 14




        67.    Graham Ford permitted Kosner to enter its premises as an agent of EControls and

for the purpose of furthering Graham Ford’s business.

        68.    Kosner committed an unauthorized intentional act by entering upon Graham

Ford’s premises under the false pretense by falsely representing that he was an employee of

EControls, when in fact Kosner was working for EDI.

        69.    Alternatively, Kosner negligently, willfully, recklessly, and/or intentionally failed

to disclose, when there was a duty to disclose, that he was no longer worked for EControls, but

instead was working for EDI as Graham Ford’s competitor, when he entered Graham Ford’s

premises.

        70.    If Graham Ford had been aware that Kosner was not working for EControls, but

was instead working for Graham Ford’s competitor EDI, Graham Ford would not have allowed

Kosner to enter its premises.

        71.    Through his unauthorized entry upon Graham Ford’s premises as a hidden agent

of EDI, Kosner gained unauthorized access to Graham Ford’s business, including information

regarding Graham Ford’s shipments, customers, computers and other electronic devices that had

proprietary engine programming and configurations, and other business information. Indeed, as

described above, Kosner’s unlawful entry upon Graham Ford’s premises, and what he claimed to

see while on the premises, formed part of the Presentation.

        72.    Upon information and belief, Kosner was employed by EDI at the same time of

his unlawful entry upon Graham Ford’s premises, and took such acts to further EDI’s business

and as part of their strategy to try and sabotage Graham Ford’s relationship with FCS, such that

EDI is directly and/or vicariously liable for Kosner’s conduct.




                                                14
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 15 of 17 PAGEID #: 15




        73.   As a result of Defendants’ conduct, Graham Ford is entitled to nominal damages,

actual damages, punitive damages, and attorneys’ fees.

                                          COUNT V

                             FRAUD / MISREPRESENTATION

        74.   Graham Ford incorporates all of the preceding allegations as if fully rewritten.

        75.   After Kosner was terminated from EControls, and in order to continue to obtain

access to Graham Ford’s premises on behalf of EDI, Kosner falsely represented to Graham Ford

that he was still employed by EControls. Alternatively, Kosner had a duty to disclose that he was

no longer employed by EControls, and negligently, knowingly, willfully, and/or intentionally

concealed that fact from Graham Ford.

        76.   Kosner’s statements were made falsely, with knowledge of their falsity, or with

such utter disregard and reckless as to whether the statements were true or false that knowledge

may be inferred.

        77.   Kosner’s false statements and/or failure to disclosure were made with the intent of

misleading Graham Ford into relying on it, and Graham Ford justifiably relied upon Kosner’s

representation or concealments in providing Kosner with continued access to Graham Ford’s

premises.

        78.   Graham Ford suffered injury proximately caused by its reliance, including but not

limited to Kosner’s continued access to Graham Ford’s private business operations and the

supposed items that Kosner witnessed while on Graham Fords premises, which later served as

the basis for his false and defamatory statements made during the Meeting and in the

Presentation with FCS.




                                               15
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 16 of 17 PAGEID #: 16




        79.    Upon information and belief, Kosner was employed by EDI at the same of his

unlawful entry upon Graham Ford’s premises, and took such acts to further EDI’s business and

as part of their strategy to try and sabotage Graham Ford’s relationship with FCS, such that EDI

is directly and/or vicariously liable for Kosner’s conduct.

        80.    As a result of Defendants’ conduct, Graham Ford is entitled to actual damages,

punitive damages, and attorneys’ fees.

        WHEREFORE, Plaintiff prays for the following relief:

        A.     Injunctive relief;

        B.     Actual damages, in an amount to be determined at trial;

        C.     Punitive damages, in an amount to be determined at trial;

        D.     Attorney’s fees, expenses, and costs of this action;

        E.     Pre- and post-judgment interest as provided by law; and

        F.     Such other relief as the Court deems just and proper.



                                              Respectfully submitted,

                                               s/ David M. Krueger
                                              DAVID M. KRUEGER (0085072)
                                              BENESCH FRIEDLANDER
                                              COPLAN & ARONOFF LLP
                                              200 Public Square, Suite 2300
                                              Cleveland, Ohio 44114-2378
                                              Telephone: (216) 363-4500
                                              Facsimile: (216) 363-4588
                                              E-mail:      dkrueger@beneschlaw.com

                                              Attorneys for Plaintiff




                                                16
11138092 v1
Case: 2:18-cv-00423-JLG-EPD Doc #: 1 Filed: 05/01/18 Page: 17 of 17 PAGEID #: 17




                                        JURY DEMAND

        Plaintiff hereby demands a trial by jury, on all the issues so triable, by the maximum

number of jurors permitted by law.


                                              s/ David M. Krueger
                                              One of Plaintiff’s Attorneys




                                                17
11138092 v1
